                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA                 )
                                         )
VS                                       )      3:21-mj-2679
                                         )      Magistrate Judge Frensley
LISA EISENHART                           )


                 DEFENDANT’S RESPONSE TO GOVERNMENT’S
                        MOTION FOR DETENTION

         Defendant Lisa Eisenhart, through counsel, submits the following in response to

the Government’s Motion for Detention and Memorandum in Support Thereof.



Procedural history

         On January 15, 2021, the District of Columbia District Court issued a Criminal

Complaint against and arrest warrant for Eisenhart in case number 1:21-mj-00071

(docket at 1).    The Complaint alleges that Eisenhart and her son, Eric Munchel,

committed the following crimes: a) Conspiracy, b) Civil Disorders, c) Restricted Building

or Grounds, and d) Violent Entry or Disorderly Conduct. The following day, Eisenhart

surrendered herself to the FBI and has remained in custody since (docket at 1).

Eisenhart appeared before this Honorable Court for her initial appearance on January

19, 2021, at which point the government moved to detain her pending the trial of this

matter (docket at 2). The government filed its Memorandum in Support of detention on

January 22, 2021 (docket at 8).




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           The matter as pertaining to Eisenhart is set for a detention hearing and a

preliminary hearing1 on January 25, 2021 at 1:00pm.

           Munchel appeared before the Court for his preliminary and detention hearings

on Friday, January 22, 2021. The Court found probable cause as to the allegations in

the Complaint against Munchel. The Court further ordered that Munchel be released

from custody pre-trial with specific conditions designed to assure his appearance and

protect the safety of the community. The government filed a Stay of the Munchel

Release Order on Sunday January 24, 2021. The District Court Judge in the District of

Columbia Granted the government’s request for a Stay on Sunday afternoon.



Eisenhart Poses Less of a Flight Risk or a Danger than Munchel

           While this Court’s decision to release Munchel was sound and grounded in

applicable law and facts (and at this point has not been reversed, only Stayed), in light of

the entry of the Stay it is important to note that Eisenhart is an even better candidate for

pre-trial release than Munchel.

           There is no evidence that Eisenhart possessed multiple weapons/long guns in her

home (or at all), owned any of the “tactical gear” described in the Complaint, “stashed”

any weapons prior to entry into the Capitol or carried a taser into the Capitol. Certainly,

there is less evidence that Eisenhart poses a danger to the community.

           Similarly, there is also less evidence that Eisenhart is a flight risk. Eisenhart was

in constant contact with the FBI during their investigation of her, repeatedly seeking out

the Nashville case agent to determine if she should surrender herself.                                 Further,



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    The matter is also set for an identity hearing. Eisenhart intends to waive the identity hearing.


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Eisenhart has no criminal record, a 56-year track record of being non-violent and

compliant with the law, and a 30-year nursing career.



Pre-trial Release Analysis

       Pre-trial detention is governed by 18 U.S.C. 3142. Based upon the allegations in

the Criminal Complaint, there is no rebuttable presumption of detention per 18 U.S.C.

3142(e)(3). As such, the government bears the burden to convince the Court that the

defendant should not be released on her own recognizance, and/or that there is no set of

conditions that can reasonably assure the appearance of the defendant and protect the

safety of the community. 18 U.S.C. 3142 (b) and (c).



   •   The Court should release Mrs. Eisenhart on her own recognizance
       without a detention hearing

       Absent a statutory presumption, the Court should release the Defendant on her

own recognizance unless the government can make the required showing in 18 USC

3142(f) that a detention hearing is warranted. In support of its position that it is entitled

to a detention hearing, the government cites to three (3) separate statutory bases as

outlined in 18 U.S.C. 3142(f) by which it contends the Court should undertake the

detention analysis required by 18 U.S.C. 3142(g) instead of releasing Eisenhart on her

own recognizance.

   1. 18 U.S.C. 3142(f)(1)(A), alleging the offense is a “crime of violence.”

       The prosecutor contends that 18 U.S.C. 1752(a) when combined with a

“dangerous weapon” as contemplated by 1752(b)(1)(A) is a “crime of violence.” The




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prosecution further contends that the Court could find probable cause of either of 18

U.S.C. 1752(a)(1)-(3). 18 U.S.C. 1752 provides as follows:

§ 1752. Restricted building or grounds
 (a) Whoever--
(1) knowingly enters or remains in any restricted building or grounds without lawful
authority to do so;
(2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engages in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact,
impedes or disrupts the orderly conduct of Government business or official functions;
(3) knowingly, and with the intent to impede or disrupt the orderly conduct of Government
business or official functions, obstructs or impedes ingress or egress to or from any restricted
building or grounds; or1
(4) knowingly engages in any act of physical violence against any person or property in any
restricted building or grounds;
(5) knowingly and willfully operates an unmanned aircraft system with the intent to
knowingly and willfully direct or otherwise cause such unmanned aircraft system to enter or
operate within or above a restricted building or grounds;
or attempts or conspires to do so, shall be punished as provided in subsection (b).
(b) The punishment for a violation of subsection (a) is--
(1) a fine under this title or imprisonment for not more than 10 years, or both, if--
(A) the person, during and in relation to the offense, uses or carries a deadly or dangerous
weapon or firearm; or
(B) the offense results in significant bodily injury as defined by section 2118(e)(3); and
(2) a fine under this title or imprisonment for not more than one year, or both, in any other
case.

       To evaluate whether a statute is a “crime of violence,” 18 U.S.C. 16 provides:

The term “crime of violence” means--
(a) an offense that has as an element the use, attempted use, or threatened use of physical
force against the person or property of another, or
(b) any other offense that is a felony and that, by its nature, involves a substantial risk that
physical force against the person or property of another may be used in the course of
committing the offense.

       Courts have further explained, providing “Pursuant to plain meaning of Bail

Reform Act, decision as to whether offense qualified as “crime of violence,” thereby

triggering pretrial detention hearing, had to be resolved via categorical approach by



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reference to elements of offense, rather than on case-by-case basis, and therefore factual

circumstances of particular case would be irrelevant until hearing on issue of whether

detention was warranted.”        U.S. v. Singleton, C.A.D.C.1999, 182 F.3d 7, 337

U.S.App.D.C. 96.

       The elements of the statute relied upon by the government require proof of entry

into the Capitol or generally some sort of “disruption” or “disorderly conduct.” See 18

U.S.C. 1752 (a)(1)-(3).   Respectfully, there is nothing in the elements of the cited

statutory language that support the proposition that 1752 (a)(1)-(3) are “crimes of

violence.” The same is true for the government’s allegation that the “possession of a

dangerous weapon,” specifically the taser carried at Munchel’s waist, gives rise to a

claim that the elements of the statute justify a conclusion that this statute is a “crime of

violence.” The government, who bears the burden, cites no case that has ever held that

18 U.S.C. 1752(a)(1)-(3) are crimes of violence, regardless of how it is punished.

       Notably, 18 U.S.C. 1752(a)(4) does require a finding of physical violence, and

therefore would be a “crime of violence.” However, the government has not argued that

this statute applies to Eisenhart’s conduct. The fact that there is a specific statutory

basis for alleging a “crime of violence” that was not pursued by the government leads to

the conclusion that the remaining bases in the statute are not “crimes of violence.”

   2. 18 U.S.C. 3142(f)(1)(E), alleging the offense is a felony that involves a
      “dangerous weapon.”

       As above, the government relies upon the taser gun carried by Munchel to allege

that a violation of 18 U.S.C. 1752 (a)(1)-(3) is not punished as a misdemeanor but

instead as a felony because the offense involves a “dangerous weapon.” 18 U.S.C.

1752(b)(1). However, to prevail under this theory as to Eisenhart, the government must



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show that there is probable cause that Eisenhart and Munchel entered into a conspiracy

to bring the taser into the Capitol and violate section 1752(a)(1)-(3). The allegations in

the Affidavit in support of the criminal complaint and the government’s Memorandum

in Support of Detention, as well as the testimony from the FBI agent in Munchel’s

probable cause/detention hearing, establishes that such probable cause does not exist.

Indeed, the evidence in the record to date indicates that Eisenhart was adamant that no

weapons be brought into the Capitol.       The government alleges that Eisenhart and

Munchel approached the Capitol, then decided to retreat to a separate area outside the

Capitol to rid themselves of any weapons; the government further alleges that Eisenhart

and Munchel did in fact retreat from the Capitol, where Munchel placed some items (the

government was not able to produce any direct evidence as to what those items were) in

a backpack.    As such, the evidence has shown that Eisenhart neither carried any

dangerous weapon into the Capitol nor did she conspire with Munchel to do the same.

       If the government is unable to prove to a probable cause standard that Eisenhart

conspired to bring the taser into the Capitol, it cannot proceed towards detention under

this theory.

   3. 18 U.S.C. 3142(f)(2)(A)(3), alleging the Defendant is a “substantial
      risk of flight.”

       The government offers no justification for this allegation other than its assertion

that Eisenhart “faces a significant statutory maximum penalty if she is convicted of the

charges in the complaint.” This bare allegation is insufficient. Indeed, nearly every

federal criminal defendant faces “significant statutory maximum penalties” if convicted.

However, the government is well aware that the legal principles of grouping and the




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likely advisory guideline range upon conviction makes it extraordinarily unlikely that

Eisenhart faces anywhere near the 20 years that the government threatens.

       Further, the proof already in the record is that Eisenhart has no criminal history

and immediately turned herself into authorities upon the warrant being issued for her

arrest. The government even concedes that the “history and characteristics” factor of

the detention analysis weighs in her favor. In further support, Eisenhart has a 30-year

career as a RN, has no violent history, has a stable support system, and was very

proactive about staying in contact with law enforcement after the media blitz regarding

her likely future need to surrender herself.

       Based upon the statutory bases provided by the government, there is insufficient

evidence to conduct the detention analysis outlined in 18 U.S.C. 3142(g) and the Court

should release Eisenhart on her own recognizance.



   •   The 3142(g) Factors Support Release

       Should the Court conclude that the government has met its burden under 18 USC

3142(f), the factors the Court must consider in 18 U.S.C. 3142(g) support the release of

Eisenhart.



Nature and Circumstances of the Offense

       This factor weighs in favor of release. The proof in the record is that, unlike

several other individuals not known by or affiliated with Eisenhart, Eisenhart did not

make a specific plan to breach the Capitol, commit violence, possess a weapon,

vandalize, assault, steal, enter private offices, view secret or classified materials, or take




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any action other than what is reflected in the I-phone video viewed by the Court during

the Munchel hearing.



Weight of the Evidence

      This factor also weighs in favor of release. While the government will produce

evidence that Eisenhart entered the Capitol, this allegation alone would result in

primarily misdemeanor charges. The government through its charging decisions in the

Complaint seeks more serious charges. However, many of the charged offenses pursued

by the government require an element of possession and/or conspiracy to possess a

dangerous weapon, proof of which is lacking.

      Further, while potential defenses are not required to be resolved by this Court,

they should be considered regarding weight of the evidence. Eisenhart clearly will have

a basis to argue that her conduct was protected by the First Amendment through

challenges to the statutes at issue. Further, Eisenhart and others similarly situated, i.e.

those who entered the Capitol but committed no violence, will likely have an “estoppel

by entrapment” defense.

      “Estoppel by entrapment” arises from the Due Process clause and was established

by the U.S. Supreme Court in Raley v. Ohio, 360 U.S. 423, 79 S.Ct. 1257, 3 L.Ed.2d 1344

(1959) and Cox v. State of La., 379 U.S. 559, 571, 85 S. Ct. 476, 484, 13 L. Ed. 2d 487

(1965). To prove the defense, “a defendant must show that: (1) a government agent

announced that the charged conduct was legal; (2) the defendant relied on the agent's

announcement; (3) the defendant's reliance was reasonable; and (4) given the

defendant's reliance, prosecution would be unfair.” United States v. Triana, 468 F.3d




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308, 316 (6th Cir. 2006) (citing United States v. Levin, 973 F.2d 463, 468 (6th Cir.

1992)).

        In the months before the 2020 presidential election, then-president Donald

Trump began publicly pronouncing that his supporters should be concerned about voter

fraud contaminating the 2020 election2. Immediately after it became apparent that

then-president Trump lost the 2020 presidential election, Mr. Trump ramped up the

rhetoric, accusing his political opponents of “stealing” the election/presidency and

perpetrating a massive fraud upon the citizens of the United States3. Then-president

Trump continued to repeat these allegations and asked his supporters to come to a rally

on January 6, 2021 in Washington DC in order to protest the certification of the

electoral college vote declaring President Biden as the victor4. Mr. Trump, still the

President of the United States at the time, told his supporters (and the entire world) that

the purpose of the rally was to “save America”, “stop the steal”, and used incendiary

language about the pending doom of the country should Mr. Biden assume the

presidential role5. While at the rally, Mr. Trump continued his inflammatory rhetoric,

telling his supporters both at the rally and on Twitter in the days before that it was

imperative that they rise up to “stop the steal” and that they should march to the Capitol

alongside then-president Trump to show strength and “provide strength” to Republican

legislators planning to vote against certification of the electoral college votes6.



2
  https://www.reuters.com/article/us-usa-election-protests-idUSKBN29B24S
https://www.nytimes.com/2021/01/06/us/politics/capitol-mob-trump-supporters.html
3
  Id.
4
  Id.
5
  Id.
6
  The full text is found here: https://www.rev.com/blog/transcripts/donald-trump-speech-save-america-rally-
transcript-january-6


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        Clearly, the individuals who travelled to Washington D.C. at then-president

Trump’s behest heard the call from the commander-in-chief and head of the executive

branch of the Federal Government.

        Afterwards, the legislative branch took note of then-president Trump’s role in

this matter. The House of Representatives impeached7 Mr. Trump over this conduct

and specifically accused him of inciting an insurrection. The leader of the Senate Mitch

McConnell issued a scathing statement8 blaming Mr. Trump, stating that the attendees

“were provoked by the president and other powerful people.”

        Eisenhart and those situated similarly will be able to assert and rely upon the

defense of entrapment by estoppel.



History and Characteristics of the Defendant

        The government asserts in its Memorandum that this factor weighs in support of

release. Eisenhart agrees. As noted above, the proof already in the record is that

Eisenhart has no criminal history and immediately turned herself into authorities upon

the warrant being issued for her arrest. Eisenhart has a 30-year career as a RN, has no

violent history, has a stable support system, and was very proactive about staying in

contact with law enforcement after the media blitz regarding her likely future need to

surrender herself.




7
  https://www.congress.gov/bill/117th-congress/house-resolution/24/text
8
  https://www.npr.org/sections/insurrection-at-the-capitol/2021/01/19/958410118/this-mob-was-fed-lies-mcconnell-
rebukes-trump-for-his-role-in-capitol-riot


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Danger to the Community

       This factor also weighs in favor of release.     While the government argues

summarily that Eisenhart poses a danger to the general public due to her

“dangerousness,” this position is not supported. There is no indication of any dangerous

or violent tendencies in Eisenhart’s background. As noted, she has no criminal history

and is not involved in any criminal or dangerous organizations. While the government

attempts to make much of her “dangerous behavior” at the Capitol, the proof does not

support a finding that by entering the Capitol unarmed without permission and

committing no violent or destructive acts whatsoever, she is therefore so “dangerous”

that she cannot be trusted to interact with the public safely, despite her apparently

doing so for 56 years of her life without incident.



Conclusion

       Eisenhart respectfully requests that she be released from custody on her own

recognizance. Should the Court elect to impose restrictions, Eisenhart agrees to accept

the conditions imposed by the Court in lieu of continued custody.



                                          Respectfully submitted,


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                            CERTIFICATE OF SERVICE

       I hereby certify that on January 25, 2021, I electronically filed the foregoing with
the clerk of the court by using the CM/ECF system, which will send a Notice of
Electronic Filing to all attorneys of record.

                                           _/s/ Jonathan P. Farmer
                                           Jonathan P. Farmer




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